        Case 3:21-cv-00683-IM     Document 121      Filed 08/12/21   Page 1 of 2




                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                            AUG 11 2021
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
O.M., by and through her parent and               No.    21-35469
guardian, K.C. Moultrie,
                                                  D.C. No. 3:21-cv-00683-IM
                 Plaintiff-Appellee,              District of Oregon,
                                                  Portland
 v.
                                                  ORDER
NATIONAL WOMEN’S SOCCER
LEAGUE, LLC,

                 Defendant-Appellant.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

      The joint motion (Docket Entry No. 16) for limited remand to the district

court for the purpose of granting the parties’ joint motion to vacate is granted.

      Within 14 days after the district court’s ruling on the joint motion to vacate,

the parties must file a joint report on the status of district court proceedings or a

motion for appropriate relief. The failure to file a status report or motion will

terminate the limited remand.

      Appellee’s unopposed request (Docket Entry No. 16) for modification of the

briefing schedule is granted. The answering brief is now due September 13, 2021.

The optional reply brief is due within 21 days after service of the answering brief.

      Because no party has moved to seal Volume 3 of the excerpts of record,

following appellant’s notice of intent to file it publicly, see 9th Cir. R. 27-13(f), the

MKS/MOATT
       Case 3:21-cv-00683-IM    Document 121      Filed 08/12/21   Page 2 of 2




Clerk will unseal the notice (Docket Entry No. 11-1) and file publicly Volume 3 of

the excerpts of record (Docket Entry No. 11-2).




MKS/MOATT                               2                                        21-35469
